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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 IN RE: PHILIPS RECALLED CPAP,                   )
 BI-LEVEL PAP, AND MECHANICAL                    )   Master Docket: Misc. No. 2:21-1230
 VENTILATOR PRODUCTS                             )
 LITIGATION                                      )
                                                 )
                                                 )   MDL No. 3014
 This Document Relates To:                       )
                                                 )
 Traversa v. Koninklijke Philips N.V., et al.,   )
 Case No: 2:22-cv-00652                          )
                                                 )


                                     NOTICE OF APPEARANCE
       Kindly enter the appearance of Christina Manfredi McKinley and Babst, Calland, Clements

and Zomir, P.C. as counsel of record on behalf of AdaptHealth Corp. and CMMC, Inc. in the

above-captioned matter.




                                      Respectfully submitted,

                                      /s/Christina Manfredi McKinley___________________
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                                      Inc.,
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                                   CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing NOTICE OF APPEARANCE

was filed May 6, 2022, electronically through the Court’s CM/ECF system, which will send a

notice of the electronic filing.



                                           /s/ Christina Manfredi McKinley
                                           Christina Manfredi McKinley
